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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DWISION
UNlTED STATES OF AMERICA,
VS. NO. 04-20310-Ma
MAJOR GRUBBS,
Defendant.

 

ORDER CONDITIONALLY GRANTING
MOTION TO WAIVE APPEARANCE AT REPORT DATE

 

On April 22, 2005, counsel for defendant Major Grubbs filed a motion to Waive the
appearance of the defendant at the report date scheduled on April 21, 2005. For good cause
shown, the motion is granted and the defendant may Waive his personal appearance on the
condition that his counsel file With the court a Written Waiver signed by the defendant Counse]
shall immediately tile the required Written Waiver.

rr rs so oRDERED this / 31'(<13;/ OfMay, 2005.

JA%/WL`\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compliance
with Ftuie 55 and/0r32(b) FHCrP on ’ 7 '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
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Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

